Case 2:10-cr-00851-CCC      Document 172      Filed 01/30/12    Page 1 of 1 PageID: 1034




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA                : Hon. Dennis M. Cavanaugh, U.SD.J.


             V                          : Criminal No. 10-851


RICHARD DEHMER                                         ORDER



      This matter having been opened to the Court upon the request of the defendant for

a review of the defendant’s bail conditions, and the United States, represented by Paul

Fishman, United States Attorney for the District of New Jersey (Anthony Mahajan,

Assistant United States Attorney, appearing), and the defendant Richard Dehmer

represented by Chester Keller, Assistant Federal Public Defender and Barbara Hutchinson

representing the Pretrial Services Agency, and for good and sufficient cause shown;

      IT IS on this           day of January, 2012,
                                                      ,V,&-, c 647;      / s   Jf d9
      ORDERED that th       affprevie+s4y-st4s




                                           STATES DISTRICT
